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                    UNITED STATES COURT OF APPEALS
                                                                        FILED
                            FOR THE NINTH CIRCUIT
                                                                       AUG 07 2020
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 KARENA APPLE FENG,                              No. 20-16008

                Plaintiff - Appellant,
                                                 D.C. No. 3:19-cv-07227-LB
   v.                                            U.S. District Court for Northern
                                                 California, San Francisco
 AMY YIM and COUNTY OF SAN
 FRANCISCO,                                      ORDER

                Defendants - Appellees.


        A review of the docket demonstrates that appellant has failed to pay the

docketing/filing fees in this case.

        Pursuant to Ninth Circuit Rule 42-1, this appeal is dismissed for failure to

prosecute.

        This order served on the district court shall, 21 days after the date of the

order, act as the mandate of this court.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Cyntharee K. Powells
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
